UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
EL PASO DIVISION

CRYSTAL MALDONADO,
Plaintiff,

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DICELLO LEVITT GUTZLER, LLC,
an Ohio Limited Liability Company;
LINVILLE LAW GROUP, LLC, a
Georgia Limited Liability Company;
INTAKE DIRECT LLC, a Georgia
Limited Liability Company; and
GUARDIAN LEGAL GROUP LLC
a/k/a GUARDIAN LEGAL NETWORK,

EP-22-CV-00343-FM

Defendants.

0QP UGA 0GR UG GOR SOR OGRA GGA UGG CGR OG) UG G2 UG2 6G UD

FINAL JUDGMENT AND DISMISSAL
Before the court is “Stipulation of Dismissal with Prejudice” [ECF No. 22], filed January
3, 2023, by the parties. A plaintiff may voluntarily dismiss an action without a court order by filing
“a stipulation of dismissal signed by all parties who have appeared,” the effect of which is
dismissal without prejudice unless the stipulation states otherwise. Accordingly:
1. Itis HEREBY ORDERED that the cause is DISMISSED WITH PREJUDICE,

2. All pending motions, if any, are DENIED AS MOOT.

SIGNED AND ENTERED this #_ day of Janua -

¥ MONTALVO
UNITED STATES DISTRICT JUDGE

3, The Clerk of the Court is ee CLOSE the cause.

 

! Fp, R. Cv. P. 41(a)(1).
